                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


THOMAS WILSON,                                       )
                                                     )
               Plaintiff,                            )
                                                     )
v.                                                   )      Case. No. 23-3030
                                                     )
ROBERT WALLACE, et al.,                              )
                                                     )
               Defendants.                           )
                                                     )

                   WAIVER OF SERVICE OF SUMMONS EXECUTED

                                       KDOC Defendants

       Pursuant to Rule 4(d) of the Federal Rules of Civil Procedure, the Kansas Department of

Corrections (“KDOC”) agrees on behalf of the defendants listed below (the “KDOC Defendants”)

to waive service of process and complaint in this matter:

Robert Wallace
Printed name of party who waives service             Printed name of party who waives service

Chad Clemons
Printed name of party who waives service             Printed name of party who waives service


Printed name of party who waives service             Printed name of party who waives service


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Printed name of party who waives service             Printed name of party who waives service


Printed name of party who waives service             Printed name of party who waives service

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                                     Non-KDOC Defendants

       The defendants listed below are not believed to be current or former KDOC employees

and will not be represented by the Kansas Attorney General (“AG”):



Name of party not represented by AG                   Name of party not represented by AG


Name of party not represented by AG                   Name of party not represented by AG


Name of party not represented by AG                   Name of party not represented by AG


Name of party not represented by AG                   Name of party not represented by AG


Name of party not represented by AG                   Name of party not represented by AG

                                       Concluding Remarks

       Pursuant to the Court’s order on February 22, 2023 (Doc. 7), the KDOC Defendants have

sixty days after the filing of this waiver to file an answer or other responsive pleading.

March 24, 2023                                        s/Dennis D. Depew
Date                                                  Signature of Deputy Attorney General




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